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                                  ID #:8904




                                      
                                      
              Exhibit 22
Case 2:21-cv-04920-WLH-ADS                    Document 330-4                 Filed 04/03/23             Page 2 of 13 Page
                                                   ID #:8905

  From:             McMenamin, Ryan
  To:               Doyle, John G.; Bowe, Michael J; Dunn, Joshua P.; Tabaksblat, Lauren
  Cc:               Sack, Jonathan S.; Eszter Vincze; Jason Brown; dwiechert@aol.com; Peacocke, Alex; Nathaniel P.T. Read; Stein,
                    David M.
  Subject:          RE: [External] RE: Fleites v. MindGeek S.a.r.l., et al. (No. 2:21-cv-04920-CJC-ADS)
  Date:             Wednesday, March 29, 2023 9:39:16 PM
  Attachments:      image002.png


  CAUTION: External E-mail. Use caution accessing links or attachments.



  John,

  On behalf of defendants Antoon and Tassillo, I write in response to your March 27 email.

  In our March 21 letter, we noted that Mr. Tassillo will produce the June 13, 2016 purchase
  agreement for the 7777 Decarie property and the October 3, 2019 purchase agreement for the
  8000 Decarie property. We expect to make that production on or before April 7, 2023.

  Regarding Appscrutiny LLC and Appiation Management LLC, we noted in our March 21
  letter (subject to and without waiving our previously stated objections on relevance and other
  grounds) that Mr. Tassillo would produce documents identifying those entities. That is
  consistent with Request No. 3 in Plaintiff’s March 13 Letters, which seeks “[d]ocuments
  identifying any entity not consolidated on MindGeek-produced financial statements in which
  Mr. Tassillo [or Mr. Antoon] holds an interest that does business with any MindGeek entity or
  business.” In any event, we will make a production of documents concerning those entities on
  or before April 7, 2023. That production will include documents reflecting the dissolutions of
  these entities and any underlying financial activity.

  With respect to Plaintiff’s CSAM-related search terms, we note that after our last meet and
  confer on March 16, Plaintiff confirmed that the intent of Request 8 in the March 13 Letters
  was to replace the prior list of 280 search terms targets at the direction and implementation of
  CSAM-policies, and not to provide additional terms. In the spirit of accommodation and in an
  effort to narrow the issues in dispute for the Court, however, counsel for both Antoon and
  Tassillo offered to run searches using both sets of terms and produce responsive non-
  privileged documents, if any. Each set of counsel are reviewing the results of those searches
  and anticipate producing responsive emails, if any, on or before April 7, 2023.

  Please let us know if you wish to follow up on any remaining issues.

  Thank you,

  Ryan

  (On behalf of Jonathan Sack)

  Ryan McMenamin | Associate
  Morvillo Abramowitz Grand Iason & Anello PC
  565 Fifth Avenue
  New York, New York 10017
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                                       ID #:8906

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  From: Doyle, John G. <JDoyle@brownrudnick.com>
  Sent: Monday, March 27, 2023 11:19 PM
  To: Nathaniel P.T. Read <nread@cohengresser.com>; Peacocke, Alex <apeacocke@maglaw.com>;
  Sack, Jonathan S. <JSack@maglaw.com>; dwiechert@aol.com; Jason Brown
  <JBrown@CohenGresser.com>; Eszter Vincze <EVincze@CohenGresser.com>; McMenamin, Ryan
  <RMcMenamin@maglaw.com>
  Cc: Dunn, Joshua P. <JDunn@brownrudnick.com>; Bowe, Michael J <MBowe@brownrudnick.com>;
  Stein, David M. <DStein@brownrudnick.com>; Tabaksblat, Lauren
  <LTabaksblat@brownrudnick.com>
  Subject: [External] RE: Fleites v. MindGeek S.a.r.l., et al. (No. 2:21-cv-04920-CJC-ADS)




  Counsel,

  Good evening. In your 3/21 letter and in several of our subsequent exchanges,
  you committed to searching for and/or producing certain information,
  including that pertaining to the June 13, 2016 purchase agreement for the
  7777 Decarie property, the October 3, 2019 purchase agreement for the 8000
  Decarie property, and the documents pertaining to the Appscrutiny and
  Appiation Management ventures. When do you expect to be complete with
  each of your searches and when do you plan to begin making these
  productions?

  With respect to your commitments to run both sets of Plaintiff’s CSAM-related
  search terms from Plaintiff’s February 28, 2023 and March 13, 2023 letters,
  and to produce responsive, nonprivileged documents, when do you expect to
  be complete with these searches and when do you plan to begin making those
  productions?

  For each category of documents and commitments made, we ask that you
  produce the documents on a rolling basis as soon as they are ready.
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                                               ID #:8907

  Thank you,

  John




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  From: Nathaniel P.T. Read <nread@cohengresser.com>
  Sent: Thursday, March 23, 2023 5:57 PM
  To: Doyle, John G. <JDoyle@brownrudnick.com>; Peacocke, Alex <apeacocke@maglaw.com>; Sack,
  Jonathan S. <JSack@maglaw.com>; dwiechert@aol.com; Jason Brown
  <JBrown@CohenGresser.com>; Eszter Vincze <EVincze@CohenGresser.com>; McMenamin, Ryan
  <RMcMenamin@maglaw.com>
  Cc: Dunn, Joshua P. <JDunn@brownrudnick.com>; Bowe, Michael J <MBowe@brownrudnick.com>;
  Stein, David M. <DStein@brownrudnick.com>; Tabaksblat, Lauren
  <LTabaksblat@brownrudnick.com>
  Subject: RE: Fleites v. MindGeek S.a.r.l., et al. (No. 2:21-cv-04920-CJC-ADS)

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  John – We appreciate receiving Plaintiff’s responses. The only additional information we have is to
  advise you that the MindGeek Entities will perform the following searches on the Mobile Data: (1)
  searching “Serena” and “Fleites” from June 30, 2020 through June 17, 2021 (as you know, the
  MindGeek Entities have already run those searches on the Mobile Data for the Relevant Period); and
  (2) running Plaintiff’s search terms from the March 13, 2023, letter for the Relevant Period and also
  from July 2020 through June 17, 2021. It is clear from your email that this additional information will
  not change Plaintiff’s positions, and thus we are at an impasse on these issues.

  Please advise when Plaintiff will provide her portion of the joint submission that must be filed
  tomorrow, March 24.
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                                            ID #:8908


  Regards,

  Nate


  From: Doyle, John G. <JDoyle@brownrudnick.com>
  Sent: Thursday, March 23, 2023 3:19 PM
  To: Peacocke, Alex <apeacocke@maglaw.com>; Sack, Jonathan S. <JSack@maglaw.com>;
  dwiechert@aol.com; Jason Brown <JBrown@CohenGresser.com>; Nathaniel P.T. Read
  <nread@cohengresser.com>; Eszter Vincze <EVincze@CohenGresser.com>; McMenamin, Ryan
  <RMcMenamin@maglaw.com>
  Cc: Dunn, Joshua P. <JDunn@brownrudnick.com>; Bowe, Michael J <MBowe@brownrudnick.com>;
  Stein, David M. <DStein@brownrudnick.com>; Tabaksblat, Lauren
  <LTabaksblat@brownrudnick.com>
  Subject: RE: Fleites v. MindGeek S.a.r.l., et al. (No. 2:21-cv-04920-CJC-ADS)




  Counsel,

  Please find our response to your March 21, 2023 letter below. We are available to discuss at
  any time. Please let us know your final positions as soon as possible.

  Relevant Time Period
  The March 13 Letters suggest that all searches be conducted “at least through June 2021,” rather
  than through June 30, 2020. We believe the appropriate period for jurisdictional discovery is June 1,
  2014, through June 30, 2020 (the “Relevant Period”). Antoon and Tassillo proposed the following
  compromise position: Antoon and Tassillo run search terms for responsive documents through the
  date of the filing of the complaint in this action, June 17, 2021; and, for documents dated after the
  Relevant Period, a document would be considered responsive if it related to the implementation and
  direction of CSAM policy during the Relevant Period. Plaintiff’s counsel stated that they would
  consider this suggested compromise and confer with colleagues before determining whether this
  compromise was acceptable. The remainder of the discussion addressed the specific requests in the
  March 13 Letters. [Plaintiff: Our request was that Defendants lift the time restriction to
  the extent it was applied to any of Defendants’ searches concerning any of Plaintiff’s
  discovery requests, as we believe the limitation unnecessarily excludes pools of
  relevant data. Your response appears to conflate the issue of what you believe is
  relevant with respect to a CSAM policy search and the overall request to include all
  pools of potentially relevant material when responding to each of Plaintiff’s RFPs. We
  believe the following is appropriate:
     A. Defendants search for responsive documents through the date of the filing
        complaint (June 17, 2021) for each of Plaintiff’s requests;
     B. With respect to Plaintiff’s request for documents and communications made to
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        or from Defendants concerning policies, practices, and/or procedures for CSAM
        and non-consensual content (#8 as identified in Plaintiff’s March 13, 2023
        letter), Defendants search the expanded timeframe and produce all responsive
        documents, without the caveat that the only material to be produced from the
        expanded timeframe (July 1, 2020 – June 17, 2021) is that which is “backwards”
        looking. Relevant materials to be produced would include not simply those
        referencing the prior practices, but also discussions about the need to
        implement policies and practices that MindGeek had previously said were
        already in place, including those publicly commented on and contained on the
        organization’s various websites or described in the numerous press statements.
        These include the practices, policies, and procedures included
        in MindGeek’s public claims that it maintained a “robust system for flagging,
        reviewing, and removing illegal material” including its “employing an extensive
        team of human moderators dedicated to manually reviewing all uploads to the
        site, and using a variety of digital fingerprinting solutions” that included
        “Microsoft’s PhotoDNA, a technology that aids in finding and removing known
        images of child exploitation, as well as, Vobile, a state-of-the-art fingerprinting
        software that scans any new upload to the platform.” We would also
        include MindGeek’s prior stated policy and practice of “work[ing] with law
        enforcement efforts and child-protection non-profits” in this category. In
        addition, Plaintiff requests that you confirm your willingness to search all
        possible sources of material, electronic or paper, including text and other
        electronic messages. Your letter from March 21, 2023, indicates you will only
        search personal emails.
     C. Jonathan: Please confirm whether Def. Tassillo is willing to search the “mobile
        data” that is in his possession.

  1. Documents identifying Mr. Tassillo’s ownership and economic interests in any MindGeek
  related entity or business (RFP 7).
  As we advised you, the MindGeek entities have produced documents sufficient to show our clients’
  interests in the MindGeek entities, and Antoon and Tassillo each also addressed this issue in
  response to Plaintiff’s Interrogatory No. 1. We further believe you are mistaken to consider FDCo
  Holding, Inc. (“FDCo”) a “MindGeek related entity,” and that that term should refer only to entities
  consolidated on MindGeek’s audited financial statements. FDCo is a separate entity through which
  Antoon and Tassillo hold their interest in MindGeek; it is not a MindGeek company. How Antoon
  and Tassillo hold their interests in FDCo relates only to their personal financial planning, and thus is
  not relevant to personal jurisdiction, including on an alter ego basis. Notwithstanding this objection,
  the documents produced by the MindGeek Entities demonstrate how Antoon and Tassillo hold their
  interests in MindGeek, including showing their ownership of the entities that hold the shares of
  FDCo. In particular and without limitation, we direct your attention to the October 18, 2013
  Shareholders’ Agreement (MindGeek_Fleites_00015893); the Manwin Holding Sarl Reorganization
  & Related Documents (MindGeek_Fleites_00016538); the organizational documents for 9288-1259
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  Quebec Inc. and 9288-1275 Quebec, Inc., including share certificates
  (MindGeek_Fleites_00020032); the organizational documents for FDCo—formerly known as
  MindGeek Holding Inc. (MindGeek_Fleites_00020191); and the March 22, 2018 Amendment to the
  Shareholders’ Agreement (MindGeek_Fleites_00009217). This production, in combination with and
  Antoon’s and Tassillo’s responses to Plaintiff’s Interrogatory No. 1, is more than sufficient to
  identify their “ownership and economic interests in any MindGeek related entity or business,” and
  thus no further production in response to Request No. 1 in the March 13 Letters is necessary or
  proportional to the personal jurisdiction issues in the case. [Plaintiff – We disagree with
  Defendants’ position that they need only rely on the productions of the MindGeek
  Entities to fulfill their discovery obligations or that they do not need to produce the
  documents concerning FDCO Holding Inc. Please confirm whether or not you have
  conducted any search for the requested material, and if so, provide us with an
  explanation as to the method used and sources searched for that material. The court
  has ordered discovery into the alter ego allegations and Defendants’ defense that
  they are separate from the entities in which their interests are held in MindGeek.
  Will you stipulate that you are the alter egos of these entities for purposes of
  jurisdiction in this case? If not, you need to produce discovery into the corporate
  formalities and finances we have requested. In addition, please state whether or not
  you are in possession of responsive material, but have otherwise withheld it from
  production based on your objections. Finally, please let us know if this is your final
  position with respect to your willingness to search for and produce the requested
  documentation.]


  2. Documents reflecting all monies invested in, or received from, any MindGeek related entity
  and the related contract or agreement under which those payments and distributions were
  made (RFP 3, 7).
  Regarding money invested in MindGeek, as part of the 2013 reorganization, MindGeek Holding Inc
  —later renamed FDCo—made a nominal investment in MindGeek Sarl of € 31,009.50
  (MindGeek_Fleites_ 00020322-73) by acquiring shares at par value.
  With respect to money received from MindGeek, Antoon and Tassillo received money from the
  MindGeek related entities in two categories: (a) salary, employment-related benefits, and bonuses;
  and (b) shareholder distributions and dividends. The MindGeek Entities have produced records from
  the company’s internal accounting systems reflecting these payments for both Antoon and Tassillo
  (MindGeek_Fleites_00003002, 3003, 3006, 9212). The MindGeek Entities have also produced
  Antoon and Tassillo’s Further Amended and Restated Employment Agreements dated October 18,
  2013 and March 22, 2018 (MindGeek_Fleites_00000042 (Tassillo) and
  MindGeek_Fleites_00000020 (Antoon)). In addition to these wages, employment-related benefits,
  and bonuses, from November 19, 2014, to December 29, 2016, Antoon and Tassillo received
  dividend distributions directly from 9219-1568 Quebec Inc. The MindGeek Entities have produced
  records from the company’s internal accounting system showing the date and amounts of these
  payments (MindGeek_Fleites_00003002). Beginning in 2017, shareholder distributions to Antoon
  and Tassillo were made via payments to FDCo. The MindGeek Entities have produced records from
  the company’s accounting system detailing (a) the total payments made by year to each party to the
  2013 Shareholders’ Agreement; (b) the types of distributions made pursuant to that agreement; and
  (c) the year in which the distributions were paid (MindGeek_Fleites_00009212). Neither Antoon
  nor Tassillo will search bank statements, which we do not believe is necessary or appropriate in light
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  of the associated burden and the information that has already been produced. Antoon and Tassillo
  have offered to provide a verification under oath that the payments reflected on the MindGeek
  records described above are the only payments each has received as a result of their employment and
  ownership interests. We believe the documents and other information produced provide more than
  sufficient discovery on this issue. [Plaintiff – We disagree with Defendants’ position that
  they need only rely on the productions of the MindGeek Entities to fulfill their
  discovery obligations. We do not accept Defendants’ offer to provide verifications of
  these productions as adequate substitutions. We have made clear that we seek
  summary records Defendants necessarily received and maintained showing monies or
  other things of value they received from Mindgeek – which would include records of
  such MindGeek would have been legally required to give to Defendants and which
  would have been legally required to disclose in some form to the
  government and the records every person maintains of such things either directly or
  through financial advisors, etc. We request the financial and accounting documents
  they maintained in the normal course of business either directly or through their
  agents reflecting any economic interests in, or money or things of value received
  from, the MindGeek business, including in any entities in which they or their family
  members hold interests that do business with MindGeek. You’re arguments were
  expressly rejected by Judge Spaeth when the MindGeek entities raised them in
  opposition to the letters rogatory. It is not plausible that no such records exist in any
  form under Defendants’ possession or that of third-parties under their control.
   Please confirm whether or not you will conduct a search for such documents in every
  source that Defendants Tassillo and Antoon control, including their electronic devices
  and communications, online storage, and the custody of third-party advisors as you
  are obligated to do. IF you did so, and found none, please provide us with an
  explanation as to what was done precisely and whether any such documents were
  destroyed.]

  3. Documents identifying any entity not consolidated on MindGeek-produced financial
  statements in which Mr. Tassillo holds an interest that does business with any MindGeek entity
  or business (RFP 7).
  As we have previously advised you, during the Relevant Period, Antoon and Tassillo had interests in
  two properties that were leased as office space in Montreal to one of the MindGeek related entities.
  The MindGeek Entities have produced the leases for the two properties, and records payments made
  under those leases. (MindGeek_Fleites_00009097-131; MindGeek_Fleites_00009143-47;
  MindGeek_Fleites_00009133-42; MindGeek_Fleites_00030405; MindGeek_Fleites_00009036-77;
  MindGeek_Fleites_00030406). Mr. Tassillo will produce the June 13, 2016 purchase agreement for
  the 7777 Decarie property, and the October 3, 2019 purchase agreement for the 8000 Decarie
  property. [Plaintiff – Agreed.]
  As also mentioned on our call, Tassillo held interests in two Delaware entities, Appscrutiny LLC and
  Appiation Management LLC—formed in or about June 2017 and in or about March 2018,
  respectively. Tassillo identified his interests in these entities in response to Plaintiff’s Interrogatory
  No. 4. Subject to and without waiving his previously stated objections on relevance and other
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  grounds, Tassillo will produce documents identifying Appscrutiny LLC and Appiation Management
  LLC. [Plaintiff – RFP 7 requested documents related to any past or present, direct, or
  beneficial ownership, lending, or secured or other economic interest in or business
  relationship with any MindGeek Entity. Please confirm that Defendants will produce
  documents sufficient to identify these ownership, lending, and economic/business
  interests in the referenced LLCs – not simply that they will produce a document
  identifying the companies. Again, we request the financial, accounting, and business
  documents they maintained in the normal course of business either directly or
  through their agents reflecting any economic interests in, or money or things of value
  received from, the MindGeek business. Reliance upon documents produced by the
  MindGeek Entities is not an acceptable substitution for Defendants’ production of the
  documents and material in their possession or control – this argument was expressly
  rejected by Judge Spaeth when the MindGeek entities raised them in opposition to
  the letters rogatory.

  4. All non-privileged documents and communications concerning Serena Fleites, including any
  communications concerning her or her claims, made to, from, or among Mr. Tassillo and any
  of the Individual Defendants or any MindGeek representatives, executives, or employees (RFP
  1, 4, 5).
  Neither Antoon nor Tassillo has any documents or communications with Ms. Fleites during the
  Relevant Period. In addition, without waiving our objections concerning the Relevant Period, we
  have advised you that neither Antoon nor Tassillo have documents relating to Ms. Fleites through
  the later period in their personal emails. You asked that we run searches in the Mobile Data (the text
  messages and other messaging app data that the MindGeek Entities have searched in the past)
  through the later period, and we took the request under advisement. We will advise you of our
  position after consultation with counsel for the MindGeek Entities. [Plaintiff – This is not
  responsive. Plaintiff’s request is not singularly for documents or communications
  with Ms. Fleites. Please verify that you have searched for “documents and
  communications concerning” Ms. Fleites. For each of your searches, please describe
  the methods used to conduct these searches and state whether any documents
  responsive to the search were once in Defendants’ possession and, if so, whether
  they were destroyed or disposed of and when. In addition, please confirm the
  sources searched. Plaintiff’s request, consistent with the rules of discovery, is that all
  possible sources, electronic or paper, including text and other electronic messages be
  searched for this material. Your response indicates that you have only searched
  personal emails. Finally, Plaintiff objects to your continued refusal to search mobile
  data that is in your possession. Please notify Plaintiff immediately of whether or not
  you will search the mobile data.]

  5. All documents and communications concerning Mr. Tassillo’s MindGeek-related trips to
  California and the United States, including documents sufficient to identify the dates, locations,
  purposes, and substance of those trips where any MindGeek business was conducted or
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                                            ID #:8913

  discussed. (RFP 11, ROG 4).
  The MindGeek Entities have produced records from company travel and expenses system showing
  the dates, locations, and purpose of trips taken by Antoon and Tassillo during the Relevant Period.
  Plaintiff’s requests for all documents and communications concerning our clients’ MindGeek-related
  business trips to California and the United States are overbroad and beyond the scope of
  jurisdictional discovery. Nonetheless, we will consider any proposed search terms Plaintiff may offer
  for this request. [Plaintiff – This is not responsive. As discussed during the meet and
  confer, the documents provided by the MindGeek entities are not sufficient to explain
  the substance, duration, and nature of Defendants’ activities and trips in the United
  States and California. Your clients have direct knowledge of the means and methods
  used to carry out those trips. Plaintiff requests that you describe the methods, if any,
  used to conduct a search for this material, including what sources were searched and
  the type of searches used. As discussed during the meet and confer, Plaintiff requests
  that Defendants search their email and messaging applications for information
  pertaining to the trips using the data provided in the documents produced by the
  MindGeek Entities. This data is more than sufficient for Defendants to conduct a
  targeted search using the dates immediately preceding, through, and immediately
  after the identified trips. Plaintiff will not provide search terms for this request as
  Defendants directly participated in these trips and know the parameters under which
  any trip took place and thus are in the best position to direct counsel as to where the
  material can be found. Please state whether you are willing to conduct these
  searches.]

  6. All documents and communications concerning Mr. Bergmair’s travel for MindGeek-
  related business, including all documents and communications concerning his trips to 9219-
  1568 Quebec, Inc. (RFP 6, 14).
  Plaintiff’s request for all documents and communications concerning Defendant Bergmair’s travel
  for MindGeek-related business is overbroad, beyond the scope of permissible jurisdictional
  discovery, not within the scope of Plaintiff’s RFPs, and not part of Plaintiff’s motion compel that is
  currently in dispute. [Plaintiff – We disagree. Please advise as to whether you have
  taken any steps to locate responsive material or if you are unwilling to do so.]

  7. Documents and communications concerning the resignations of Mr. Tassillo and Individual
  Defendant Feras Antoon (RFP 30).
  Plaintiff’s request for documents and communications concerning the resignations of Antoon and
  Tassillo in June 2022—long after the Relevant Period—is overbroad and beyond the scope of
  permissible jurisdictional discovery. [Plaintiff – We disagree and understand Defendants’
  position is that this issue will need to be addressed by Judge Spaeth.]

  8. All documents and communications made to or from Mr. Tassillo concerning any MindGeek
  Entity’s policies, practices, and/or procedures for CSAM and non-consensual content, (RFP 1,
  4, 5, 38-41), including: a. Documents and communications pertaining to the implementation
  and training of any screening, CSAM, and non-consensual content policies;
  b. Training and instruction concerning the use of the Content Management System during the
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  review and screening of uploaded content;
  c. Documents and Communications sent to managers and team leads concerning the
  applicability of policies, practices, and procedures to potential CSAM and non-consensual
  content;
  d. Work schedules and rotation calendars of the screeners and moderators in Cyprus and
  Montreal; and
  e. Policies and directives concerning tagging, descriptions, formatting, optimizing,
  categorization, reuploading, and optimization of user generated content and uploaded
  material.
  f. During the hearing, you committed to running searches using the terms we provided to you.
  We therefore ask you to search all possible sources, electronic or paper, including text and
  other electronic messages, for the following additional search terms:
  In response to Request No. 8 and its various subparts, we note that after our call, we sought
  confirmation that Plaintiff did not intend these terms to be run in addition to its prior list of
  approximately 280 CSAM-related search terms included in a letter to counsel for the MindGeek
  Entities dated February 28, 2023, but that they were to be run instead of that longer list of terms. On
  March 17, Plaintiff confirmed by email that this was correct, and asked that if Antoon and Tassillo
  had already run searches related to the longer list of terms, that we produce any responsive material.
  As they have previously stated, subject to and without waiving their previously-stated objections,
  Antoon and Tassillo will run both sets of Plaintiff’s CSAM-related search terms (that is, those from
  the February 28, 2023 letter, and those from the March 13, 2023 letter) over the personal emails
  from the Relevant Period in their possession, and produce responsive, nonprivileged documents to
  Plaintiff, if any. [Please see the response concerning the “Relevant Time Period”
  above.]




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  From: Peacocke, Alex <apeacocke@maglaw.com>
  Sent: Tuesday, March 21, 2023 8:33 PM
  To: Dunn, Joshua P. <JDunn@brownrudnick.com>; Bowe, Michael J <MBowe@brownrudnick.com>;
  Doyle, John G. <JDoyle@brownrudnick.com>; Stein, David M. <DStein@brownrudnick.com>;
  Tabaksblat, Lauren <LTabaksblat@brownrudnick.com>
  Cc: Sack, Jonathan S. <JSack@maglaw.com>; dwiechert@aol.com; jbrown@cohengresser.com;
  nread@cohengresser.com; Eszter Vincze <EVincze@CohenGresser.com>; McMenamin, Ryan
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                                                                                                                                                                                                                                                                                       ID #:8915

  <RMcMenamin@maglaw.com>
  Subject: Fleites v. MindGeek S.a.r.l., et al. (No. 2:21-cv-04920-CJC-ADS)

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   Counsel, Please see the attached correspondence concerning Antoon’s and Tassillo’s positions at our meet-and-confer call last Thursday, March 16. Additionally, in terms of further briefing to the Court, Antoon and Tassillo would suggest that the parties follow the sam




  Counsel,

  Please see the attached correspondence concerning Antoon’s and Tassillo’s positions at our meet-
  and-confer call last Thursday, March 16.

  Additionally, in terms of further briefing to the Court, Antoon and Tassillo would suggest that the
  parties follow the same schedule that we understand is in place for the Urman team: Plaintiff will
  provide her position to Antoon and Tassillo by end-of-day Wednesday, March 22; and Antoon and
  Tassillo will provide their position to Plaintiff by noon on Friday, March 24. Please confirm that this
  arrangement is agreeable to you.

  Regards,

  Alex


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